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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN


DISPLAY TECHNOLOGIES, LLC,                         Case No. 2:20-cv-10392-SJM-MJH

                                                   Hon. Stephen J. Murphy, III
       Plaintiff,

       v.

ALPINE ELECTRONICS OF
AMERICA, INC.,

       Defendant


                    PLAINTIFF DISPLAY TECHNOLOGIES, LLC’s
                      ANSWER TO ALPINE ELECTRONICS OF
                       AMERICA, INC.’S COUNTERCLAIMS

      Plaintiff Display Technologies, LLC (“Display”) submits this Answer to the

counterclaims asserted by Alpine Electronics of America, Inc. (“Defendant”) in its

Answer to Plaintiff’s Complaint (“Answer”).

                      DEFENDANT’S COUNTERCLAIMS

                                  As to “Parties”

      1.     Display is without sufficient knowledge to form a belief as to the

allegations set forth in paragraph 1 and, therefore, denies the same.

      2.     Admitted.

                         As to “Jurisdiction and Venue”

      3.     Admitted.
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      4.       Display admits that jurisdiction is proper in this Court.

      5.       Display admits that personal jurisdiction is proper in this Court.

      6.       Display admits that venue is proper in this District.

                             As to “Nature of the Action”

      7.       Display admits that an actual controversy has arisen and exists between

Display and Alpine as to the infringement, validity and enforceability of the ’723

Patent.

      8.       Admitted.

      9.       Display admits that Alpine denies infringement, validity and

enforceability of the ’723 Patent. Display denies any remaining allegations in

paragraph 9.

      10.      Display admits that Alpine has asserted that the ’723 Patent is invalid.

Display denies any remaining allegations in paragraph 10.

      11.      Display admits that an actual controversy has arisen and exists between

Display and Alpine as to the infringement, validity and enforceability of the ’723

Patent.

    As to “Count I: Declaration of Non-Infringement of the ’723 Patent”

      12.      Display incorporates its answers to paragraphs 1-11 herein.

      13.      Admitted.




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      14.    Display admits that Alpine denies infringement, validity and

enforceability of the ’723 Patent. Display denies any remaining allegations in

paragraph 14.

      15.    Denied.

      16.    Display admits that an actual controversy exists between Display

and Alpine regarding the infringement of the ’723 Patent.

      17.    Display admits that Defendant seeks a declaratory judgement that it

does not infringe the ’723 Patent.

        As to “Count II: Declaration of Invalidity of the ’723 Patent”

      18.    Display incorporates its answers to paragraphs 1-17 herein.

      19.    Denied.

      20.    Denied.

      21.    Display admits that an actual controversy exists between Alpine and

Display over the validity of the ’723 Patent.

      22.    Display admits that Defendant seeks a declaratory judgment that the

claims of the ’723 Patent are invalid.

                             As to “Prayer for Relief”

      To the extent that any response is required to the Prayer for Relief, Display

denies that Defendant is entitled to judgment or any of the relief it has requested.




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Dated: May 22, 2020                     Respectfully submitted by:
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                      CERTIFICATE OF SERVICE

      This is to certify that on May 22, 2020, the undersigned caused the

foregoing document to be filed using the Court’s electronic filing system, which

will provide notice to all counsel of record.

                                                /s/ Maxwell Goss
                                                Maxwell Goss




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